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                         UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

________________________________
                                 )
JOHN DOE,                        )
     Plaintiff,                  )
                                 )             COMPLAINT AND
v.                               )             JURY DEMAND
                                 )
                                 )             Civil Action No.: 1:18-CV-11531
BRIAN BUTLER, CITY OF SALEM and )
SALEM POLICE DEPARTMENT          )
     Defendants                  )
________________________________ )

                          COMPLAINT & JURY DEMAND

                                  INTRODUCTION

1.          The Plaintiff, “John Doe”, a fictional name used to protect the privacy of
            the plaintiff, brings this civil rights and negligence action for damages
            sustained when he was sexually assaulted by Officer Brian Butler of the
            Salem Police Department while in the custody of the Salem Police
            Department.

                                   JURISDICTION

2.          This action is brought pursuant to 42 USC §§ 1983, 1988 and the Fourth
            and Fourteenth Amendment to the United States Constitution, G.L. c. 12,
            §§ 11I, the Massachusetts Declaration of Rights, G.L. c. 258, and the
            common law. This court has jurisdiction to adjudicate those claims that
            present a federal question under 28 USC §§ 1331 and 1343.

3.          This Court has supplemental jurisdiction to adjudicate claims arising under
            state law by and through 28 USC §1367.

4.          The amount in controversy, both in the aggregate and as to each
            individual defendant, is more than $75,000.00 as the actions of the
            defendants were egregious and the injuries and damages alleged by the
            Plaintiff are significant and permanent, in nature.
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                                    PARTIES

5.        The plaintiff, John Doe is an individual residing in South Yarmouth,
          Barnstable County, Massachusetts.

6.        The defendant, City of Salem is a City located within the Commonwealth
          of Massachusetts with a principal place of business at 93 Washington
          Street, Salem, Essex County, Massachusetts. Defendant City of Salem is
          a public employer within the meaning of M.G.L. c. 258, §1, et. seq.

7.        The defendant, Salem Police Department is an agency of the City of
          Salem, Massachusetts with a principal place of business located at 95
          Margin Street, Salem, Essex County, Massachusetts.

8.        At all relevant times, the Defendant, Brian Butler, was a Police Officer with
          the City of Salem Police Department whose last known address was at 44
          Valley Street, Salem, Essex County, Massachusetts. Officer Butler is now
          in the Custody of the Commonwealth of Massachusetts.

                           GENERAL ALLEGATIONS

9.        On or about October 31, 2016, and at all relevant times herein, the
          plaintiff, John Doe, was in protective custody within the Salem Police
          Station in the City of Salem, Essex County, Massachusetts.

10.       On or about October 31, 2016, and at all relevant times herein, Defendant
          Brian Butler was on duty as a police officer for the Salem Police
          Department

11.       On or about October 31, 2016, while in the course of his employment with
          the City of Salem and the Salem Police Department, Defendant Brian
          Butler entered the locked holding area within the Salem Police
          Department and engaged in a non-consensual sexual act with Plaintiff
          John Doe.

12.       As a result of the aforementioned incident, Plaintiff John Doe has required
          psychological medical care and treatment, suffered damages, including,
          but not limited to, extreme emotional distress, loss of enjoyment of life and
          lost wages.
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13.       Defendant Brian Butler has been convicted of indecent sexual assault and
          battery against Plaintiff John Doe in the Essex County Superior Court and
          is currently incarcerated in a Commonwealth of Massachusetts
          correctional facility.

14.       Defendant Brian Butler has been suspended and/or terminated from his
          employment as a police officer with the Salem Police Department and City
          of Salem as a result of the previously described incident.

15.       The Plaintiff’s injuries and other damages were caused by the negligence,
          gross negligence and/or intentional conduct of one or more agents,
          servants and/or employees of the City of Salem and the Salem Police in
          failing to properly maintain the safe and secure housing of the Plaintiff as
          well as in failing to provide and/or maintain proper care and custody of the
          Plaintiff.

16.       The above-described conduct of the Defendant is proscribed by the
          Constitution of the United States and the Constitution of the
          Commonwealth of Massachusetts and, consequently, constitutes a
          violation of his civil rights.

17.       The physical abuse inflicted upon the Plaintiff was done under the color of
          law without legal justification. Such actions by the Defendants constitutes
          the unreasonable use of authority, unlawful detention, sexual assault and
          battery and were violations of the Plaintiff’s civil rights pursuant to the
          state and federal constitutions.

18.       The injuries sustained by the Plaintiff were a direct and proximate result of
          the actions of the Defendants, Salem Police Department, City of Salem,
          Massachusetts, and Brian Butler in his individual and official capacity.

                 PLAINTIFF JOHN DOE’S CLAIMS AGAINST
                    THE DEFENDANT, BRIAN BUTLER

                  COUNT I - VIOLATION OF 42 U.S.C. §1983

19.       The plaintiff repeats and reavers the foregoing paragraphs as if set forth
          fully herein.
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20.         The conduct of the Defendant described herein violated the Plaintiff’s
            federal civil rights, including but not limited to his right to be free from
            excessive force, the right to be free from criminal acts, the right to equal
            protection under the law and the right to security of the person.

21.         The defendant violated the plaintiff’s civil rights while acting under the
            color of law.

22.         As a direct and proximate result of the violations of John Doe’s civil rights
            by the Defendant, Mr. Doe was deprived of his liberty and was caused to
            suffer physical and mental pain and suffering, great humiliation, emotional
            distress, lost wages and other damages.

       WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
Brian Butler, in the amount of his damages, plus costs, interest and reasonable
attorneys’ fees.


          COUNT II - INDECENT ASSAULT & BATTERY AND/OR RAPE

23.         The plaintiff repeats and reavers the foregoing paragraphs as if set forth
            fully herein.

24.         While in the protective custody of the Salem Police Department,
            Defendant Brian Butler raped and/or indecently assaulted and battered the
            Plaintiff.

25.         As a direct and proximate result of the violations of John Doe’s civil rights
            by the Defendant, Mr. Doe was deprived of his liberty and was caused to
            suffer physical and mental pain and suffering, great humiliation, emotional
            distress, lost wages and other damages.

       WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
Brian Butler, in the amount of his damages, plus costs, interest and reasonable
attorneys’ fees.
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                    COUNT III - VIOLATION OF G.L. c. 12 §11I

26.         The plaintiff repeats and reavers the foregoing paragraphs as if set forth
            fully herein.

27.         The conduct of the Defendant described herein violated the civil rights of
            the plaintiff as guaranteed by the United States Constitution and the
            Massachusetts Declaration of Rights, including but not limited to the right
            to be free from excessive force, the right to be free from indecent assault
            and battery and/or rape, the right to equal protection under the law and the
            right to security of the person, thereby causing damages for which the
            Plaintiff is entitled to recover.

28.         As a direct and proximate result of the violations of John Doe’s civil rights
            by the Defendant, Mr. Doe was deprived of his liberty and was caused to
            suffer physical and mental pain and suffering, great humiliation, emotional
            distress, lost wages and other damages.

       WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
Brian Butler, in the amount of his damages, plus costs, interest and reasonable
attorneys’ fees.

 COUNT IV - INDECENT ASSAULT AND BATTERY AND/OR RAPE VIOLATION OF
                       THE FOURTH AMENDMENT

29.         The plaintiff repeats and reavers the foregoing paragraphs as if set forth
            fully herein.

30.         The conduct of the Defendant described herein violated the civil rights of
            the plaintiff as guaranteed by the United States Constitution and the
            Massachusetts Declaration of Rights, including but not limited to the right
            to be free from excessive force, the right to be free from crimes against his
            person, the right to equal protection under the law and the right to security
            of the person, thereby causing damages for which the Plaintiff is entitled to
            recover.

31.         As a direct and proximate result of the violations of John Doe’s civil rights
            by the Defendant, Mr. Doe was deprived of his liberty and was caused to
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             suffer physical and mental pain and suffering, great humiliation, emotional
             distress, lost wages and other damages.

       WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
Brian Butler, in the amount of his compensatory and punitive damages, plus costs,
interest, reasonable attorneys’ fees and such further relief as the Court deems equitable
and just.


         COUNT V- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

32.          The plaintiff repeats and reavers the foregoing paragraphs as if set forth
             fully herein.

33.          The acts engaged in by the Defendant was intentional, wanton,
             oppressive and outrageous

34.          The Defendant intended to inflict emotional distress upon the plaintiff or
             knew or should have known that emotional distress was the likely result of
             his conduct

35.          The acts engaged in by the Defendant were extreme and outrageous,
             were beyond all possible bounds of decency and were utterly intolerable in
             a civilized community

36.          The conduct described herein by the Defendant caused the Plaintiff
             emotional distress.

37.          The emotional distress sustained by the Plaintiff was severe and of a
             nature that no reasonable person could be expected to endure

38.          As a direct and proximate result of the willful, wanton, reckless and/or
             grossly tortious actions taken by the Defendant, the Plaintiff was caused to
             suffer great humiliation, embarrassment, anxiety, fear, apprehension,
             depression, great personal discomfort and extreme emotional distress,
             lost wages and other damages.

       WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
Brian Butler, of compensatory and punitive damages plus costs of suit, interest,
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reasonable attorneys’ fees and such further relief as the Court deems equitable and
just.
 PLAINTIFF JOHN DOE’S CLAIMS AGAINST THE DEFENDANT, SALEM POLICE
                           DEPARTMENT
                    COUNT VI - VIOLATION OF 42 U.S.C. §1983
39.          The plaintiff repeats and reavers the foregoing paragraphs as if set forth
             fully herein.
40.          The policies and/or customs of the Defendant, Salem Police Department,
             caused violations of the Plaintiff’s federal civil rights, including but not
             limited to his right to be free from excessive force, the right to equal
             protection under the law and the right to security of the person, by and
             through the Defendant’s policy and/or custom of failing to properly
             maintain safe and secure housing for those in protective custody, as well
             as in failing to provide and/or maintain proper care and custody for those
             in protective custody.
41.          The defendant, Salem Police Department’s policies, procedures, actions
             and/or inactions allowed the defendant, Officer Brian Butler, to violate the
             plaintiff’s civil rights while acting under the color of law.
42.          As a direct and proximate result of the violations of “John Doe’s” civil
             rights, Mr. Doe was deprived of his liberty and was caused to suffer
             physical and mental pain and suffering, great humiliation, emotional
             distress, lost wages and other damages.


      WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
Salem Police Department, in the amount of his damages, plus costs, interest and
reasonable attorneys’ fees.


                           COUNT VII – NEGLIGENCE AND/OR
                                GROSS NEGLIGENCE
43.          The plaintiff repeats and reavers the foregoing paragraphs as if set forth
             fully herein.
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44.          At all times material, the Defendant, Salem Police Department, had a duty
             to take reasonable steps to train, supervise and oversee its employee
             police officers.
45.          On or about October 31, 2016, the Defendant, Salem Police Department,
             breached said duty when it negligently failed to take reasonable steps to
             adequately train, supervise and oversee Officer Brian Butler, allowing
             Officer Butler to sexually assault the plaintiff on at least two separate
             occasions during the Plaintiff’s time at the police station.
46.          As a direct and proximate result of the Defendant’s negligence and/or
             willful, wanton, reckless and/or grossly tortious conduct, the Plaintiff was
             caused to suffer great humiliation, embarrassment, anxiety, fear,
             apprehension, depression, great personal discomfort and extreme
             emotional distress, lost wages and other damages.
47.          Plaintiff has satisfied all conditions precedent to the bringing of this cause
             of action in accordance with M.G.L. c. 258, Section 4.


       WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
Salem Police Department, of compensatory and punitive damages plus costs of suit,
interest, reasonable attorneys’ fees and such further relief as the Court deems equitable
and just.


PLAINTIFF JOHN DOE’S CLAIMS AGAINST THE DEFENDANT, CITY OF SALEM
                    COUNT VIII - VIOLATION OF 42 U.S.C. §1983
48.          The plaintiff repeats and reavers the foregoing paragraphs as if set forth
             fully herein.
49.          The policies and/or customs of the Defendant, City of Salem, caused
             violations of the Plaintiff’s federal civil rights, including but not limited to his
             right to be free from excessive force, the right to equal protection under
             the law and the right to security of the person, by and through the
             Defendant’s policy and/or custom of failing to properly maintain safe and
             secure housing for those in protective custody, as well as in failing to
             provide and/or maintain proper care and custody for those in protective
             custody.
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50.         The defendant, City of Salem’s policies, procedures, actions and/or
            inactions allowed the defendant, Officer Brian Butler, to violate the
            plaintiff’s civil rights while acting under the color of law.
51.         As a direct and proximate result of the violations of John Doe’s civil rights,
            Mr. Doe was deprived of his liberty and was caused to suffer physical and
            mental pain and suffering, great humiliation, emotional distress, lost
            wages and other damages.


        WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
City of Salem, in the amount of his damages, plus costs, interest and reasonable
attorneys’ fees.


                          COUNT VII – NEGLIGENCE AND/OR
                               GROSS NEGLIGENCE
52.         The plaintiff repeats and reavers the foregoing paragraphs as if set forth
            fully herein.
53.         At all times material, the Defendant, City of Salem, had a duty to take
            reasonable steps to train, supervise and oversee its employee police
            officers.
54.         On or about October 31, 2016, the Defendant, City of Salem, breached
            said duty when it negligently failed to take reasonable steps to adequately
            train, supervise and oversee Officer Brian Butler, allowing Officer Butler to
            sexually assault the plaintiff on at least two separate occasions during the
            Plaintiff’s time at the police station.
55.         As a direct and proximate result of the Defendant’s negligence and/or
            willful, wanton, reckless and/or grossly tortious conduct, the Plaintiff was
            caused to suffer great humiliation, embarrassment, anxiety, fear,
            apprehension, depression, great personal discomfort and extreme
            emotional distress, lost wages and other damages.
56.         Plaintiff has satisfied all conditions precedent to the bringing of this cause
            of action in accordance with M.G.L. c. 258, Section 4.
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        WHEREFORE, the plaintiff, John Doe, demands judgment against the defendant,
City of Salem, of compensatory and punitive damages plus costs of suit, interest,
reasonable attorneys’ fees and such further relief as the Court deems equitable and
just.


                                        JURY CLAIM
       The plaintiff claims a trial by jury on all causes of action set forth herein.


                    CERTIFICATION OF COUNSEL AND CLOSING
Under Rule 11 of the Federal Rule of Civil Procedure, by signing below, I certify to the
best of my knowledge, information and belief that this complaint: (1) is not being
presented for an improper purpose, such as to harass, cause unnecessary delay, or
needlessly increase the cost of litigation; (2) is supported by existing law or by a non-
frivolous argument for extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Rule 11.


                                            Respectfully Submitted
                                            The Plaintiff
                                            By his Attorneys,

                                            /s/ Adam H. Becker
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                                            Claudine A. Cloutier, BBO # 631435
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Dated: July 23, 2018
